                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

RUTH SMITH, Individually and as Widow                )
for the Use and Benefit of Herself and the           )
Next of Kin of RICHARD SMITH, Deceased,              )      Case #: 3:05-00444
                                                     )      Judge Trauger
                              Plaintiff,             )
                                                     )
                -against-                            )
                                                     )
PFIZER INC., PARKE-DAVIS,                            )
a division of Warner-Lambert Company                 )
and Warner-Lambert Company LLC,                      )
WARNER-LAMBERT COMPANY,                              )
WARNER-LAMBERT COMPANY LLC and                       )
JOHN DOE(S) 1-10,                                    )
                                                     )
                              Defendants.            )

                    DECLARATION OF KENNETH B. FROMSON, ESQ.
                      IN OPPOSITION TO DEFENDANTS’ MOTION IN
                    LIMINE TO EXCLUDE EVIDENCE OF MARKETING
                     OR ADVERTISING MATERIALS AND CONDUCT

        I, Kenneth B. Fromson, deposes and states as follows:

        1.      I am a partner with the law firm of Finkelstein & Partners, LLP, attorneys for the

Plaintiff in this matter.

        2.      This declaration is submitted in opposition to Defendants’ motion in limine to

exclude evidence of marketing or advertising materials and conduct.

        3.      The following documents are attached hereto in opposition to Defendants’

motion:

        Exhibit A - Neurontin Action Plan 2004

        Exhibit B - Internal document of Manfred Hauben; Bates No. Pfizer M Hauben
                    0000123-0000125

        Exhibit C - Excerpt from Transcript of Akabane Yoshiharu at p. 53




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      Exhibit D - Gabapentin Data Capture Aid

      Exhibit E - April 1, 2003 e-mail by John Marino

      Exhibit F - December 7, 2000 e-mail from Joe Feczko

      Exhibit G - Chart entitled “Percentage of Serious Reports For Suicide and Self injurious
                  Behavior”

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: April 27, 2010

                                                  /s/ Kenneth B. Fromson
                                                  Kenneth B. Fromson
                                                  Finkelstein & Partners, LLP
                                                  1279 Route 300, P.O. Box 1111
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                                                  Attorneys for Plaintiff Ruth Smith




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 27th day of April, 2010, I electronically filed the

foregoing document with the Clerk of the Court, United States District Court for the Middle

District of Tennessee, using the CM/ECF system. True and correct copies of the foregoing

documents are being served via the Court's CM/ECF system on the following:

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                                                  /s/ Kenneth B. Fromson
                                                  Kenneth B. Fromson




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